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AO 245B (CASDRev. 08113) Judgment in a Criminal Case

                                                                                                               Jan 14 2016
                                         UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA                                        s/ danielles


               UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                    V.                              (For Offenses Committed On or After November 1, 1987)
           ALFREDO CASTRO-SANDOVAL (02)
                                                                        Case Number:         15CR2555-AJB-02

                                                                     Ryan W. Stitt FD
                                                                     Defendant's Attorney
REGISTRATION NO.                    50813298
o-
THE DEFENDANT:
I:8l   pleaded guilty to count(s)        Two of the Information

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                      Nature of Offense                                                                   Number(s)
21 USC 952, 960, 963                 Conspiracy to Distribute Marijuana Intended for Importation                                 2




    The defendant is sentenced as provided in pages 2 through                  2            ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

o Count(s)                                                    is           dismissed on the motion of the United States.

       Assessment: $100.00
I:8l


I:8l Fine waived               0 Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                                                                15CR2555-AJB-02
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DEFENDANT:                 ALFREDO CASTRO-SANDOVAL (02)                                           Judgment - Page 2 of2
CASE NUMBER:               15CR2555-AJB-02



                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




        Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o      The court makes the following recommendations to the Bureau of Prisons:




 o      The defendant is remanded to the custody of the' United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at
                   ------------------ A.M.                   on
                                                                  -------------------------------------
        o     as notified by the United States MarshaL

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on                                            to
                                 -------------------------                     ------------------------------
 at
      ------------------------ , with a certified copy of this judgment.

                                                                UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                   15CR2555-AJB-02
